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  6   Attorneys for Defendant, Kent W. Easter
  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                        Case No.: 8:16-bk-10223-ES
 12
      KENT W. EASTER,                              Chapter 7 Proceeding
 13
                           Debtor                  Adv. Case No. 8:16-ap-01114-ES
 14
                                                   DECLARATION OF KENT W. EASTER IN
 15                                                SUPPORT OF OPPOSITION TO MOTION
                                                   FOR SUMMARY JUDGMENT
 16   KELLI C. PETERS, BILL PETERS, and
      SYDNIE PETERS,
 17
                            Plaintiffs,            Hearing:
 18
                                                   Date:        November 10, 2016
                           v.                      Time:        10:30 a.m.
 19
                                                   Ctrm:        5A
      KENT W. EASTER,
 20
                          Defendant.
 21

 22

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        DECLARATION OF KENT W. EASTER IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY
                                          JUDGMENT
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  1
             I, KENT EASTER, declare:
  2
             1.      I have personal knowledge of the matters set forth in this declaration and if called
  3
      upon to testify to such matters, I could and would do so competently.
  4
             2.      On September 10, 2014, I was convicted of false imprisonment of Kelli Peters
  5
      under California Penal Code §236/237 and on October 14, 2014, I was sentenced to three months
  6
      in Orange County Jail, 3 years’ probation, 100 hours of community service, and victim
  7
      restitution to Kelli Peters in an amount to be determined later. On June 14, 2016, a hearing was
  8
      held on restitution owed to Kelli Peters and an amount of approximately $36,000 was awarded,
  9
      including interest.
 10
             3.      On February 1, 2016, I went to trial in Orange County Superior Court, Case No.
 11
      30-2012-00588580 (“State Court Action”) on Plaintiff Kelli Peters’ causes of action for false
 12
      imprisonment and intentional infliction of emotional distress and Plaintiffs Bill and Sydnie
 13
      Peters’ claims of intentional infliction of emotional distress. I was not able to retain an attorney
 14
      and represented myself in pro per.
 15
             4.      In order to streamline and expedite the trial, I agreed to stipulate to liability and
 16
      only dispute damages. In negotiating the stipulation, however, I was not willing to stipulate to
 17
      any intentional wrongdoing against Bill and Sydnie Peters. I never intended to cause any injury
 18
      to Bill Peters. I never intended to cause any harm to Sydnie Peters. I expressed my
 19
      unwillingness to stipulate to something that was not true as to these two Plaintiffs to Plaintiffs’
 20
      counsel, Robert Marcereau, in an email.
 21
             5.      Mr. Marcereau responded to me by citing the CACI 1600 jury instruction on
 22
      intentional infliction of emotional distress and stating that recklessness provided a basis for
 23
      liability for intentional infliction of emotional distress. Solely on this basis, and without
 24
      representation by counsel, I agreed to the stipulation. Attached hereto as Exhibit A and
 25
      incorporated herein is a true and correct copy of my January 25, 2016, e-mail exchange with Mr.
 26
      Marcereau.
 27
             6.      On February 5, 2016, after the conclusion of the trial in the State Court Action,
 28                                                    -1-

        DECLARATION OF KENT W. EASTER IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY
                                          JUDGMENT
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                  EXHIBIT A
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                                  EXHIBIT "A"                         PAGE 5
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  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  4   A true and correct copy of the foregoing document entitled (specify): DECLARATION OF KENT W.
      EASTER IN SUPPORT OF OPPOSITION TO MOTION FOR SUMMARY JUDGMENT will be served or
  5   was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
      the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) October 20, 2016, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:
  9          Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
              wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
 10          Robert H Marcereau , nlipowski@mncalaw.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11
                                                        Service information continued on attached page
 12
      2. SERVED BY UNITED STATES MAIL: On (date) October 20, 2016, I served the following persons
 13   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
      true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
 14   and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 15
      Kent W Easter
 16   153 Baywood Dr
      Newport Beach, CA 92660
 17
                                                        Service information continued on attached page
 18
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 19   EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
      LBR, on (date) October 20, 2016, I served the following persons and/or entities by personal delivery,
 20   overnight mail service, or (for those who consented in writing to such service method), by facsimile
      transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
      delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
 21   filed.
 22          The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 23                                                     Service information continued on attached page
 24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 25
       October 20, 2016           Susan C. Stein                            /s/Susan C. Stein
 26    Date                     Printed Name                                Signature

 27

 28
                                                        -- 3 --
